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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                        WESTERN DIVISION AT DAYTON

 UNITED STATES OF AMERICA,                            :

                               Plaintiff,                    Case No. 3:04-cr-130

                                                             District Judge Walter Herbert Rice
        -   vs -                                      :      Magistrate Judge Michael R. Merz

 RICHARD AUSTON,


                               Defendant.             :



                       REPORT AND RECOMMENDATIONS


        This case is before the Court on Defendant’s Motion to Reduce Sentence (Doc. No. 380).

 As a post-judgment collateral attack on the sentence, it has been referred to the undersigned

 United States Magistrate Judge for a report and recommendations.

        Defendant was convicted by a jury of conspiracy to distribute and possess with intent to

 distribute in excess of 150 kilograms of cocaine and interstate travel in furtherance of an illegal

 activity, Counts One and Three of the Superseding Indictment in this case. On April 4, 2007,

 Judge Rice entered judgment sentencing Auston to 180 months confinement on the cocaine

 charge and a concurrent sixty months on the interstate travel charge (Judgment, Doc. No. 285,

 PageID 4164).

        Auston’s instant Motion notes that he was given a two-point enhancement under the

 Sentencing Guidelines for possession of a firearm. He asserts that this violates the principles


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 adopted by the Supreme Court in Apprendi v. New Jersey, 530 U.S. 466 (2000), and its progeny,

 particularly Alleyne v. United States. 570 U.S. ___, 133 S. Ct. 2151, 186 L. Ed. 2d 314 (2013), in

 which the Court held that any fact that increases the mandatory minimum sentence for an offense

 is an “element” which must be submitted to the jury. Auston does not cite Alleyne directly, but

 quotes from its language which overruled Harris v. United States, 536 U.S, 545 (2002), in which

 the Court held that Apprendi did not apply to judicial fact finding which increased a mandatory

 minimum sentence.

        Assuming that Alleyne is retroactively applicable to cases like Auston’s which are long

 since final, it is of no assistance to Auston. The two-point enhancement was applied under the

 Sentencing Guidelines and did not raise the mandatory minimum sentence. The Guidelines are

 advisory only and by definition cannot create or raise a mandatory minimum sentence. United

 States v. Booker, 543 U.S. 220 (2005).

        Defendant’s Motion for Sentence Reduction, even assuming the Court has jurisdiction to

 consider it, should be denied.      Because reasonable jurists would not disagree with this

 conclusion, Petitioner should be denied a certificate of appealability and the Court should certify

 to the Sixth Circuit that any appeal would be objectively frivolous.

 July 22, 2013.

                                                                 s/ Michael R. Merz
                                                                United States Magistrate Judge




                            NOTICE REGARDING OBJECTIONS

 Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written objections to the
 proposed findings and recommendations within fourteen days after being served with this Report
 and Recommendations. Pursuant to Fed. R. Civ. P. 6(d), this period is extended to seventeen

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 days because this Report is being served by one of the methods of service listed in Fed. R. Civ.
 P. 5(b)(2)(C), (D), (E), or (F). Such objections shall specify the portions of the Report objected
 to and shall be accompanied by a memorandum of law in support of the objections. If the Report
 and Recommendations are based in whole or in part upon matters occurring of record at an oral
 hearing, the objecting party shall promptly arrange for the transcription of the record, or such
 portions of it as all parties may agree upon or the Magistrate Judge deems sufficient, unless the
 assigned District Judge otherwise directs. A party may respond to another party=s objections
 within fourteen days after being served with a copy thereof. Failure to make objections in
 accordance with this procedure may forfeit rights on appeal. See United States v. Walters, 638
 F.2d 947 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140 (1985).




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